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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK

BUFFALO, NEW YORK 14202 {7
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NOV 39 2018

UNITED STATES OF AMERICA, Plaintiff
Vv
CHARLES WEBER, Defendant

Kt KI? KI OR UG

CASE # 15 CR 0010

MOTION TO ADJOURN SENTENCING
I, Charles Weber, moves the court to indefinitely adjourn sentencing an innocent man to
incarceration for the grounds set forth below.
1 For the reasons contained in the OBJECTION TO PRESENTENCING REPORT, the SS ID
card was returned with correspondence to correct their records to my correct Article 4
Citizenship. The Social Security Administration received this October 4, 2018.
Instructions were given to contact the appropriate agencies for the corrective change. The
corrections may take 90 days and I may not have any notice of that change for a while.
Since I have not received any notice, correspondence was just sent to the DOJ, Treasury, IRS,
State Department, and FBI with the SS VERIFIED NOTICE AND DEMAND documents and
supporting documents.
A change in status correction will render any conviction null and void.
2 The government has still yet to provide the physical characteristics or/and the classification of
person that attaches the 14" Amendment to myself.
3 The government has not still rebutted the non-resident evidence I presented to support my
position in the MOTION FOR ACQUITTAL. That is factually true using the government’s own

words.
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4 The MOTION FOR ACQUITTAL has not been decided. The government’s case is based
entirely on hearsay and false accusations as stated in the MOTION FOR ACQUITTAL papers.
The statements contained herein are made to the best of my knowledge, are true as I know them
to be, and are made under the penalty of perjury.

5 Provide for any further relief the court deems just.

sls fob Levine a7 18

Signature Date

 

Charles Weber
c/o 25 Greenbrier Road
Snyder, New York 14226 — 716-839-9678

I certify that on November 27, 2018, the foregoing MOTION TO ADJOURN SENTENCING
was mailed to 38 Delaware and 2 Niagara Square by USPS to the following US Attorney and
Clerk of Court.
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Charles Weber
c/o 25 Greenbrier Road
Snyder, NewYork 14226

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Clerk of Court
2 Niagara Square
Buffalo, New York 14202

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